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    In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                         Filed: October 15, 2019

* * * * * * * * * * * * * * *
IOLA SYKES,                   *                           No. 17-716V
                              *
           Petitioner,        *                           Special Master Sanders
                              *
 v.                           *
                              *
SECRETARY OF HEALTH           *                           Attorneys’ Fees and Costs; Reasonable
AND HUMAN SERVICES,           *                           Basis; Reduction for Unnecessary Billing
                              *
           Respondent.        *
* * * * * * * * * * * * * * *

                                              DECISION1

        On May 31, 2017, Iola Sykes (“Petitioner”) filed a petition for compensation under the
National Vaccine Injury Compensation Program (“Program” or “Act”). 42 U.S.C. § 300aa-10 to
-34 (2012).2 Petitioner alleged that she suffered from optic neuritis as a result of the Tetanus-
Diphtheria-acellular-Pertussis (“Tdap”) vaccination she received on September 6, 2016. Pet. at 1,
ECF No. 1. On December 17, 2018, Petitioner filed an unopposed motion for a decision dismissing
her petition, see ECF No. 46, and I dismissed her petition on December 21, 2018, ECF No. 47.

        On March 26, 2019, Petitioner filed a motion for attorneys’ fees and costs, seeking
$19,973.00 in attorneys’ fees and $2,596.86 in costs for a total of $22,569.86. Pet’r’s Mot. for
Attys’ Fees and Costs, ECF No. 51 [hereinafter Pet’r’s Mot. for AFC]. On April 8, 2019,
Respondent filed his response to Petitioner’s motion, objecting on the basis that Petitioner failed
to establish a reasonable basis for her claim. Resp’t’s Resp. at 2, ECF No. 52. Petitioner filed her
reply brief on April 15, 2019. Pet’r’s Reply, ECF No. 53. For the reasons stated below, I find that
Petitioner satisfied the statutory requirements for an award of attorneys’ fees and costs, and
therefore GRANT Petitioner’s motion.

    I.      Procedural History

1
  This decision shall be posted on the United States Court of Federal Claims’ website, in accordance with
the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the Decision will be available to anyone with access to
the Internet. In accordance with Vaccine Rule 18(b), a party has 14 days to identify and move to delete
medical or other information that satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the
rule requirement, a motion for redaction must include a proposed redacted decision. If, upon review, the
undersigned agrees that the identified material fits within the requirements of that provision, such material
will be deleted from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99–660, 100 Stat. 3755.

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        Petitioner filed her petition on May 31, 2017. Pet. at 1. Over the next four months,
Petitioner filed fourteen exhibits in support of her petition. See Pet’r’s Exs. 1–14, ECF Nos. 5-2–
5-9, 13-2, 17-2, 18-2, 21-2, 22-2. On December 15, 2017, Respondent filed a status report
indicating that he wished to contest entitlement in this case, ECF No. 25.

        Respondent filed his Rule 4(c) report on February 14, 2018, in which he argued that
compensation should be denied because Petitioner “ha[d] not established that she suffered the
residual effects or complications of optic neuritis for the requisite six months[]” as required under
the Act. Respt’s’ Report at 5, ECF No. 32. I held a Rule 5 Conference with the parties on March
1, 2018. See Min. Entry, docketed Mar. 1, 2018. During the conference, Respondent “stated that
follow up visits [that occurred prior to six months post vaccination] alone [did] not indicate that
[Petitioner] continue[d] to have symptoms” and therefore his “position [was] that the [six-month]
requirement [was] not met . . . .” ECF No. 34 at 1. Petitioner noted that she “ha[d] described her
symptoms as ongoing in her affidavits[]” and she had “not [yet] had the opportunity to speak with
[her] treating physicians to corroborate [her] statements.” Id. I told the parties that obtaining
clarification from Petitioner’s treater would be beneficial and ordered them to draft mutually-
agreeable questions to send to Petitioner’s treater by April 2, 2018. Id.

         On April 2, 2018, the parties filed a joint status report requesting additional time to send
mutually-agreed upon questions to Petitioner’s treater. ECF No. 35 at 1. I ordered the parties to
file a status report on the progress of obtaining clarification of the medical records by May 3, 2018.
Non-PDF Order, docketed Apr. 3, 2018. On April 12, 2018, Diana Stadelnikas substituted in as
Petitioner’s counsel, see Clerks’ Not., docketed Apr. 12, 2018, and the parties filed a joint status
report on May 3, 2018, indicating that Petitioner anticipated filing additional evidence regarding
the six-month requirement by June 4, 2018, ECF No. 37.

        On May 21, 2018, Petitioner filed an affidavit outlining lifestyle changes she claimed were
caused by her alleged vaccine-induced optic neuritis. Pet’r’s Ex. 18, ECF No. 38-2. On June 4,
2018, the parties filed a joint status report indicating that Petitioner’s treater “ha[d] stated that she
[would] not provide any information beyond the information already contained in the medical
records.” ECF No. 39. I held a status conference with the parties on June 18, 2018, see Min.
Entry, docketed June 18, 2018, and told Petitioner that “because [her treater] refused to clarify the
medical records,” I would “defer to the plain language to interpret the medical records[]” if any
ambiguity existed, ECF No. 40 at 1. Petitioner requested an opportunity to submit an expert report
to clarify whether the six-month requirement was met, and I ordered her to submit such a report
by August 17, 2018. Id.

        Over the next five months, Petitioner filed four motions for extensions of time to submit
an expert report, ECF Nos. 41–44, which I granted, Non-PDF Orders, docketed Aug. 20, 2018;
Sept. 18, 2018; Oct. 19, 2018; Nov. 19, 2018. Petitioner was ultimately unsuccessful in securing
an expert opinion and therefore filed a motion for a decision dismissing her petition on December
17, 2018. ECF No. 46. I issued a decision dismissing her petition on December 21, 2018. ECF
No. 47.




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       Petitioner filed her motion for attorneys’ fees and costs on March 26, 2019. Pet’r’s Mot.
for AFC. Respondent filed his Response on April 8, 2019, objecting to an attorneys’ fees and costs
award on the grounds that Petitioner had not established a reasonable basis to bring her claim.
Resp’t’s Resp. Petitioner filed her reply on April 15, 2019. Pet’r’s Reply.

         This matter is now ripe for consideration.

   II.      Factual Background

       Petitioner received the Tdap vaccination at issue in this case on September 6, 2016. Pet’r’s
Ex. 2 at 1. On October 24, 2016, Petitioner presented to optometrist Stephen Merckle, O.D.,
complaining of pressure and visual disturbances in her right eye for the past three weeks. Pet’r’s
Ex. 11 at 5. In light of Petitioner’s symptoms, Dr. Merckle referred Petitioner for a neuro-
ophthalmology consultation. Id. at 10.

        On October 26, 2018, Petitioner presented to neuro-ophthalmologist Sydnee Givre, M.D.,
Ph.D. Pet’r’s Ex. 4 at 18. Petitioner reported “develop[ing] pain in the outer corner of [her] right
eye and right[-]sided headache about three weeks ago.” Id. Petitioner also noted that two weeks
prior, she “noticed pain with eye movement” and currently was experiencing “splotchy” vision.
Id. Dr. Givre’s impression was that Petitioner’s “exam and history [were] most [consistent with]
retrobulbar neuritis[,]” and she “discussed optic neuritis with [Petitioner] in detail . . . .” Id. Dr.
Givre also discussed “the importance of [a] brain MRI in determining the risk for [developing
multiple sclerosis]” and ordered a brain “MRI to check retrobulbar optic nerve and . . . for
demyelination . . . .” Id.

        Petitioner underwent a brain MRI on October 30, 2016. Id. at 16. The results showed
“[p]rominent enhancement of the right intraorbital optic nerve in its anterior portion, consistent
with active optic neuritis.” Id. Dr. Givre therefore ordered a four-day course of intravenous
solumedrol, which Petitioner began on November 15, 2016. Id. at 14. Petitioner returned to Dr.
Givre on November 29, 2016, for a follow-up and reported that her vision had been “improving
slowly since the [solumedrol] treatment.” Id. at 5. Dr. Givre noted that “[visual field] testing
[was] unreliable (as it was on the first visit) so it [was] difficult to make a[] judgement on whether
the optic neuritis [was] improving other than based on [Petitioner’s] perception that it [was].” Id.
at 7. Petitioner planned to follow-up with Dr. Givre again in two weeks. Id.

        Petitioner presented to Dr. Givre for a follow-up on December 13, 2016 and complained
of worsening vision. Pet’r’s Ex. 6 at 52. Dr. Givre’s impression was “relapse [of] right optic
neuritis[,]” and she expressed “concern[ that] this [was] an atypical optic neuritis . . . .” Id. at 54.
Dr. Givre ordered blood work and another four-day solumedrol treatment, which Petitioner began
on December 14, 2016. Id. at 54, 57.

       Petitioner had another follow-up with Dr. Givre on January 4, 2017. Id. at 15. Petitioner
reported that her “vision [was] better but still a bit dark directly in the center,” and she had no “eye




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pain.” Id. Dr. Givre ordered a chest CT to test for sarcoidosis3 and planned to follow-up with
Petitioner in three weeks. Id. at 17.

        Petitioner underwent a chest CT on January 10, 2017, id. at 6, and returned to Dr. Givre
for a follow-up on January 30, 2017, id. at 12. Dr. Givre noted that the chest CT “was abnormal
but not [consistent with] sarcoid.” Id. Petitioner reported that she “[thought her] vision [was]
slightly better in the center[]” since her last visit and that she had not experienced any eye pain.
Id. Dr. Givre’s assessment was “optic neuritis . . . good recovery. Vision holding steady off
steroids” and she planned to follow-up again in three months. Id. at 14.

        Due to her abnormal chest CT, Petitioner presented to pulmonologist William Hall, M.D.,
on March 3, 2017. Pet’r’s Ex. 7 at 3. Dr. Hall noted that Petitioner’s chest CT “revealed [three]
non-calcified nodules,” which were “inconclusive.” Id. Dr. Hall “offered a bronchoscopy to
[definitively] diagnose sarcoidosis[,]” but Petitioner “declin[ed] further workup at [that] time”
because “her vision [was] now cured with prednisone and she ha[d] no interest in pursuing any
diagnostic testing unless absolutely necessary.” Id. at 4. Dr. Hall noted that Petitioner’s second
solumedrol treatment after her optic neuritis relapse in December 2016 resulted in “full resolution
of [her] symptoms.” Id. Dr. Hall also wrote that Petitioner’s optic neuritis was “[s]table and
asymptomatic.” Id. He told Petitioner to follow-up with him again in one year. Id.

        On May 1, 2017, Petitioner presented to Dr. Givre for a follow-up. Pet’r’s Ex. 7 at 13.
Petitioner reported that her vision was “stable.,” id., and Dr. Givre noted that Petitioner had a
“good recovery after [the] second round [of] solumedrol and [was] no[w] holding steady.” Id. at
15. Dr. Givre told Petitioner to follow-up with her primary care physician but to “let [Dr. Givre]
know immediately if there [were] any symptoms of reoccurrence.” Id.

        On August 29, 2017, Petitioner presented to Dr. Merckle complaining of “blurred” vision.
Pet’r’s Ex. 13 at 5, ECF No. 21-2. Dr. Merckle’s examination of Petitioner’s right eye revealed a
“dark” spot on Petitioner’s periphery. Id. at 9. Dr. Merckle did not prescribe any treatment for
Petitioner at this visit but diagnosed Petitioner with presbyopia4 and astigmatism.5 Id. at 10. Dr.
Merckle did not associate or note whether these new findings relate to Petitioner’s optic neuritis.
See id.

    III.      Applicable Legal Standards

           A. Good Faith



3
  Sarcoidosis is defined as “a chronic, progressive, systemic granulomatous reticulosis of unknown
etiology, characterized by hard tubercles. It can effect almost any organ or tissue, including the . . . eyes .
. . .” Dorland’s Illustrated Medical Dictionary 1668 (32nd ed. 2012) [hereinafter “Dorland’s”].
4
  Presbyopia is defined as “hyperopia and impairment of vision due to advancing years or old age . . . .”
Dorland’s at 1511.
5
  Astigmatism is defined as “an error of refraction caused by unequal curvature of the refractive surfaces
of the eye, so that a point source of light cannot be brought to a point focus on the retina but is spread
over a more or less diffuse area.” Dorland’s at 168.

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        Under the Vaccine Act, a special master may award fees and costs for an unsuccessful
petition if “the petition was brought in good faith and there was a reasonable basis for the claim
for which the petition was brought.” 42 U.S.C. § 300aa–15(e)(1); see also Sebelius v. Cloer, 569
U.S. 369, 376 (2013). “Good faith” is a subjective standard. Hamrick v. Sec’y of Health & Human
Servs., No. 99-683V, 2007 WL 4793152, at *3 (Fed. Cl. Spec. Mstr. Nov. 19, 2007). Petitioners
act in “good faith” if they hold an honest belief that a vaccine injury occurred. Turner v. Sec’y of
Health & Human Servs., No. 99-544V, 2007 WL 4410030, at *5 (Fed. Cl. Spec. Mstr. Nov. 30,
2007). Petitioners are “entitled to a presumption of good faith.” Grice v. Sec’y of Health & Human
Servs., 36 Fed. Cl. 114, 121 (1996) (noting that in the absence of evidence of bad faith, the special
master was justified in presuming the existence of good faith). Respondent does not contest that
this petition was filed in good faith, see Resp’t’s Resp. at 4 n.1, and I find that the good faith
standard is met in this case.

          B. Reasonable Basis

        Respondent does, however, contest the reasonable basis for this petition. Id. at 6.
“Reasonable basis” is not explicitly defined in the Vaccine Act or Rules. Generally, “the Vaccine
Act requires that petitions be accompanied with evidence of injury . . . [to] ensure[] that petitioners
and their counsel make some effort to establish that there was a vaccination and an injury that may
be linked to the vaccine.” Simmons v. Sec’y of Health and Human Servs., 128 Fed. Cl. 579, 583
(2016), aff’d, 875 F.3d 632 (Fed. Cir. 2017) (internal citations omitted). Deciding whether a claim
has a reasonable basis “is within the discretion of the Special Master . . . .” Id. at 582 (internal
citations omitted).

        In determining reasonable basis, a court looks not at the likelihood of the claim’s success,
but instead assesses its feasibility based on objective evidence. Turner, 2007 WL 4410030, at *6
(citing Di Roma v. Sec’y of Health and human Servs., No. 90-3277V, 1993 WL 496981, at *1
(Fed. Cl. Spec. Mstr. Nov. 18, 1993)). Thus, petitioners must offer more than an unsupported
assertion that a vaccine caused the injury alleged. See, e.g., Perreira v. Sec’y of Health & Human
Servs., 33 F.3d 1375, 1377 (Fed. Cir. 1994); McKellar v. Sec’y of Health & Human Servs., 101
Fed. Cl. 297, 303–04 (2011); Cortez v. Sec’y of Health & Human Servs., No. 09-176V, 2014 WL
1604002, at *5 (Fed. Cl. Spec. Mstr. Mar. 26, 2014). Petitioners must “affirmatively demonstrate
[the] reasonable basis” of their claim through some objective evidentiary showing. McKellar, 101
Fed. Cl. at 305. Such a showing “must, at a minimum, be supported by medical records or medical
opinion.” Everett v. Sec’y of Health and Human Servs., No. 91-1115V, 1992 WL 35863, at *2
(Fed. Cl. Spec. Mstr. Feb 7, 1992). In addition, “because Vaccine Act claims may involve state-
of-the-art scientific developments, untested theories, and unknown interactions and results, these
difficult cases may entail close calls . . . [and] the standard for assessing . . . reasonable basis . . .
should reflect this reality.” Cottingham v. Sec’y of Health and Human Servs., 134 Fed. Cl. 567,
574 (2017).

    IV.      Arguments

          A. Respondent




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        Respondent’s argument that Petitioner lacked a reasonable basis to bring her claim centers
on her failure to meet the Vaccine Act’s “six-month” requirement. See Resp’t’s Resp. at 5. This
requirement mandates that a petition contain allegations that the injured person “suffered the
residual effects or complications of [the alleged] illness, disability, injury, or condition for more
than [six] months after the administration of the vaccine.” §300aa-11(c)(1)(D)(i). Respondent
argues that, despite Petitioner’s claims in her petition and affidavits that she suffered residual
effects of her optic neuritis for six-months post vaccination and still continues to suffer from them,
“[P]etitioner’s medical records d[o] not support these allegations.” Resp’t’s Resp. at 5. To support
his argument, Respondent cites to Petitioner’s medical records beginning on March 6, 2017, which
Respondent correctly notes is “six months after the Tdap vaccination” at issue. Id. Respondent
argues that the records reflect that, as of six-months post vaccination, Petitioner’s optic neuritis
was “cured” and that she had made a “complete recovery.” Id. Because of this, Respondent
concludes that “[P]etitioner has failed to establish a reasonable basis for the claim set forth in the
petition . . . .” Id. at 6.

        B. Petitioner

        In response, Petitioner argues that her medical records “document ongoing sequelae,
reasonably attributable to optic neuritis in the context of meeting the six-month [requirement] . . .
.” Pet’r’s Resp. at 9. To support this assertion, Petitioner relies on two office visits noted in her
medical records. The first is with Dr. Givre on May 1, 2017. Pet’r’s Ex. 7 at 13. At this visit, Dr.
Givre assessed Petitioner’s vision as “holding steady,” and directed her to follow up “immediately
if there [was] any symptom reoccurrence.” Id. at 15. An examination of Petitioner’s right eye
conducted at this visit revealed “trace temporal pallor6.” Id. at 14. The second visit is with Dr.
Merckle on August 29, 2017. Pet’r’s Ex. 13 at 5. At this visit, Petitioner complained of “blurred”
vision, and an exam showed a dark spot on the periphery of Petitioner’s right eye. Id. at 5, 9.
Petitioner argues that these visits “provide[] a reasonable basis to proceed until such time [that] a
qualified expert could review [the case] and opine regarding symptomology and causation.”
Pet’r’s Resp. at 9. Petitioner notes that her medical records contained ambiguities regarding her
symptoms during this time, and she attempted to obtain clarification from her treater to resolve
these ambiguities. Id. Because her treater refused to provide any context and she was unable to
obtain an expert report, she promptly filed a motion to dismiss her petition. Id.

    V. Analysis

       Petitioner’s evidence demonstrates that she possessed a reasonable basis to bring this claim.
The evidence shows that Petitioner received a covered vaccine, developed a cognizable and
diagnosed injury, and suffered documented residual effects of that injury for a minimum of four
months. Petitioner’s medical records contained ambiguities regarding her symptoms after that
time, but they described ongoing injury and abnormalities during optical exams. Meanwhile, she
maintained in her petition and affidavits that she continued to experience residual symptoms past

6
 Pallor is defined as “paleness.” Dorland’s at 1365. This finding could be indicative of optic atrophy.
Vivian B. Osaguona, Differential Diagnoses of the Pale/White/Atrphic Disk, 29(96) COMMUNITY EYE
HEALTH 71 (2016), retrieved from https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5365044/. Optic
atrophy is “atrophy of the optic disk resulting from the degeneration of the nerve fibers of the optic nerve
and optic tract.” Dorland’s at 176.

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six-months post vaccination. The parties drafted mutually-agreeable questions for Petitioner’s
treater in an attempt to clarify the medical record. The fact that Petitioner’s treater declined to
provide context to the medical records does not mean that Petitioner’s claim lacked reasonable
basis.

         Respondent attempts to hold Petitioner to a reasonable basis standard centered around the
likeliness of success rather than on feasibility. Petitioner’s medical records, while demonstrating
vaccination, injury, and treatment, were nonetheless complex and ambiguous. As the Court has
stated, “difficult cases may entail close calls . . . [, and] the standard for assessing . . . reasonable
basis . . . should reflect this reality.” Cottingham, 134 Fed. Cl. at 574. Petitioner correctly noted
in her reply brief that the issue of whether she met the six-month sequelae requirement was a close
call. Indeed, there was objective, albeit ambiguous, evidence in her medical records that she
suffered the residual effects of her injury for at least six-months post vaccination. Dr. Merckle,
for example, made the objective finding that Petitioner’s right eye had “trace temporal pallor,”
which may have been an indication of optic atrophy. Pet’r’s Ex. 7 at 14; see also supra note 6. I
will not punish Petitioner for ultimately being unable to obtain clarification from her treater or an
expert opinion supporting causation. Therefore, I find that Petitioner had a reasonable basis to file
her petition.

    VI.        Reasonable Attorneys’ Fees and Costs

          A. Reasonable Rates

        Forum rates are used in the lodestar formula, except when the rates in an attorney’s local
area are significantly lower than forum rates. Avera v. Sec’y of Health and human Servs., 515 F.3d
1343, 1348–49 (Fed. Cir. 2008). In a 2015 decision, Special Master Gowen determined the
reasonable forum rate ranges for attorneys with varying years of experience. See McCulloch v.
Sec’y of Health & Human Servs., No. 09-293V, 2015 WL 5634323, at *18–19 (Fed. Cl. Spec.
Mstr. Sept. 1, 2015), mot. for recons. denied, 2015 WL 6181910 (Fed. Cl. Spec. Mstr. Sept. 21,
2015). When considering whether a requested rate is reasonable, special masters may consider an
attorney’s overall legal experience and his experience in the Vaccine Program, as well as the
quality of the work performed. Id. at *17. The McCulloch rates have been updated for subsequent
years and are accessible on the Court’s website at http://www.uscfc.uscourts.gov/vaccine-
programoffice-special-masters.

               i. Requested Rates

        Petitioner requests the following hourly rates for the attorneys and paralegals who worked
on this matter:

          -    Altom Maglio:
                  o 2017: $362.00
                  o 2018: $381.00
          -    Amber Wilson:
                  o 2017: $290.00
          -    Anne Toale:


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               o 2017: $378.00
               o 2018: $402.00
       -    Diane Stadelnikas:
               o 2016: $359.00
               o 2017: $372.00
               o 2018: $396.00
               o 2019: $415.00
       -    Paralegals:
               o 2016: $105.00-$135.00
               o 2017: $145.00
               o 2018: $148.00
               o 2019: $154.00

Pet’r’s Ex. 19 at 16, ECF No. 51-1.

        These attorneys and paralegals practice in Sarasota, Florida and Washington, DC.
Therefore, forum rates apply. I find that these rates are reasonable and in accordance with
McCulloch and align with what other Special Masters have awarded in the past. McCulloch, 2015
WL 5634323, at *18–19; see also Reed v. Sec’y of Health and Human Servs., No. 08-650V, 2019
WL 2500417, *3 (Fed. Cl. Spec. Mstr. May 21, 2019); Crespo v. Sec’y of Health and Human
Servs., No. 15-1100V, 2018 WL 3991263, *2 (Fed. Cl. Spec. Mstr. July 5, 2018); Anderson v.
Sec’y of Health and Human Servs., No. 17-1452, 2019 WL 4255997, *2 (Fed. Cl. Spec. Mstr. Aug.
12, 2019).

            ii. Hours Expended

        The second step in Avera is for the Court to make an upward or downward modification
based upon specific findings. Avera, 515 F.3d at 1348. Although the undersigned finds that the
hourly rates are reasonable, the undersigned has determined that a reduction in the number of hours
requested is appropriate. Four attorneys and seven paralegals billed hours in this case. As other
special masters have noted, this type of staffing model leads to inefficiency and unnecessary billing
entries. See Reed, 2019 WL 2500417, at *4; Rice v. Sec’y of Health & Human Servs., No. 15-
1335, 2018 WL 4784563 (Fed. Cl. Spec. Mstr. Aug. 27, 2018). Therefore, I will reduce
Petitioner’s requested attorneys’ fees by 5%. After this reduction, Petitioner is entitled to
$18,974.35 in attorneys’ fees.

   B. Reasonable Costs

        Similar to attorneys’ fees, a request for reimbursement of costs must be reasonable.
Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (1992). Petitioner has requested
$2,596.86 in costs, the majority of which was spent obtaining an expert opinion from Joseph F.
Rizzo, M.D. Dr. Rizzo billed at a rate of $650 an hour for his review of this case. Petitioner did
not submit documentation justifying Dr. Rizzo’s rate nor his credentials. However, Dr. Rizzo’s
rate has been awarded in the Program previously, and Special Master Roth provided a detailed
review of his credentials and sound reasoning for his rate. See Nwala v. Sec’y of Health and
Human Servs., No. 16-923V, 2019 WL 2005751, *3–4 (Fed. Cl. Spec. Mstr. Apr. 12, 2019). I will


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therefore award Dr. Rizzo a rate of $650 for his work on this case for a total of $1,625 in expert
costs.

        Petitioner’s remaining requested costs are comprised of fees for obtaining medical records
and travel. I find these costs reasonable and award them in full. Therefore, I award Petitioner
costs in the amount of $2,596.86.

    VII.    Conclusion

       In accordance with the Vaccine Act, I award Ms. Stadelnikas $18,974.35 in attorneys’ fees
and $2,596.86 in costs. Accordingly, I award the total of $21,571.21 to be issued in the form of a
check payable jointly to Petitioner and Petitioner’s counsel, Ms. Diana L. Stadelnikas, of Maglio
Christopher and Toale, PA, for attorneys’ fees and costs.7

        IT IS SO ORDERED.
                                                  s/Herbrina D. Sanders
                                                  Herbrina D. Sanders
                                                  Special Master




7
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of a notice
renouncing the right to seek review.

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